  Fill in this information to identify the case:

  Debtor name    Roman Catholic Diocese of Harrisburg


  United States Bankruptcy Court for the:.:::M:::ld::d:::I':__ _ _ _ _ _ _ _ District of:::P:::Ac.__ _
                                                                                            (State)
  Case number (If known):      1:20-00599 HWV                                                                                                   IZI   Check if this is an
                                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets -                                                  Real and Personal Property                                                              12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/8, list any executory contracts or unexpired
leases. Also 11st them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, Include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the Instructions to understand the terms used in this form.


            Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   D      No. Go to Part 2.
   0      Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                                          Current value of debtor's
                                                                                                                                             interest
2. Cash on hand                                                                                                                             $ 0.00


3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                            Type of account                Last 4 digits of account number
   3.1. See ExhibltA/B.1.3                                                                                                                  $6,056,517.34
   3.2. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ - - - - - - - -                                                                                   $,_ _ _ _ _ _ __


4. Other cash equivalents (Identify all)
   4.1. First National Bank - Certificate of Deposil-101465891 - Unemployment                                                               $ 262,102.05

   4.2. S&T Bank - Certificate of Deposit - 2004024016 • Bishop McDavitt High School                                                        $ 517,176.13


5. Total of Part 1                                                                                                                           $6,835,795.52
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



            Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   D      No. Go to Part 3.
   tz1    Yes. Fill in the information below.
                                                                                                                                              Current value of
                                                                                                                                              debtor's interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit
   7.1. Self-Insured Retention Program, Catholic Mutual Group, 10843 Old Mill Rd., Omaha, NE 68154-2600                                      $15,000

   7.2 . _- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                                                                             $,_ _ _ _ _ __


  Official Form 206A/B                                               Schedule A/B: Assets- Real and Personal Property                                        page 1

         Case 1:20-bk-00599-HWV                              Doc 297 Filed 05/12/20 Entered 05/12/20 19:52:04                                                Desc
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  Debtor          Roman Catholic Diocese of Harrisburg                                                Case number (ii mown)_:2..:0_:·0..:0.:.59'-9'--------------
                 Name




 8. Prepayments, including prepayments on executory contracts, leases, Insurance, taxes, and rent
     Description, includlng name of holder of prepayment
     8.1. See Exhibit NB 2.8                                                                                                              $ 332,403
     8.2. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                  $,_ _ _ _ _ __

 9. Total of Part 2.
                                                                                                                                         $347,403
    Add lines 7 through 8. Copy the total to line 81.



: , , , , Accounts receivable

 10. Does the debtor have any accounts receivable?

      D No. Go to Part 4.
      0 Yes. Fil! in the information below.
                                                                                                                                          Current value of debtor's
                                                                                                                                          Interest
 11. Accounts receivable

      11a. 90 days old or less:                                                                                                          $,_ _ _ _ _ __
                                     face amount                      doubtful or uncollectib!e accounts

      11b. Over 90 days old:         233,718.23                        (39,240.54)                         ........ ➔                    $194,477.69
                                     face amount                      doubtful or uncollectible accounts


 12. Total of Part 3                                                                                                                     $194,477.69
      Current value on lines 11a + 11 b = line 12. Copy the total to line 82.


■,,,         Investments

 13. Does the debtor own any investments?
     D No. Go to Parts.
      0    Yes. Fill in the information below.
                                                                                                            Valuation method              Current value of debtor's
                                                                                                            used for current value        Interest

 14. Mutual funds or publicly traded stocks not included in Part 1
     Name of fund or stock:
     14.1. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -                                                                   $, _ _ _ _ _ _ __
     14.2. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -                                                                   $, _ _ _ _ _ _ __



 15. Nonwpublicly traded stock and Interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or Joint venture

     Name of entity:                                                                    % of ownership:
     15.1. See Exhlbi!NB.4.15                                                          _ _ _%                                            $17,773.51
     15.2 . _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             _ _ _%                                            $. _ _ _ _ _ _ __

 16. Government bonds, corporate bonds1 and other negotiable and nonwnegotiable
     Instruments not Included in Part 1
    Describe:
    16.1 . _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                $,_ _ _ _ _ __
    16.2 . _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                $,_ _ _ _ _ __



 17. TotalofPart4                                                                                                                      $ 17.773.51
     Add lines 14 through 16. Copy the total to line 83.                                                                             1

  Official Form 206A/B                                        Schedule A/B: Assets -        Real and Personal Property                                 page 2

       Case 1:20-bk-00599-HWV                              Doc 297 Filed 05/12/20 Entered 05/12/20 19:52:04                                            Desc
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Debtor            Roman Catholic Diocese of Harrisburg                                   Case number {ifknown,0 2
                                                                                                                _0_-_0_0_S_B_9_ _ _ _ _ _ _ _ __
                  Name




             Inventory, excluding agriculture assets

    Does the debtor own any inventory (excluding agriculture assets)?

    D No. Go to Part 6.
    0     Yes. Fill in the information below.

     General description                            Date of the last     Net book value of    Valuation method used         Current value of
                                                    physical Inventory   debtor's interest    for current value             debtor's interest
                                                                         (Where available)
19. Raw materials
                                                                         $_ _ _ _ _ _                                       $_ _ _ _ _ _ _ _
                                                    MM /DD/YYYY

20. Work in progress
                                                                         $,_ _ _ _ __                                       $_ _ _ _ _ _ __
                                                    MM /DDIYYYY

21. Finished goods, including goods held for resale
    See Exhibit A/B 5.21                             1/31/2019           $ 474,179                Cost                      $ 474,179
                                                    MM /DD/YYYY

22. Other inventory or supplies
                                                                         $._ _ _ _ __                                       $_ _ _ _ _ __
                                                    MM /DDIYYYY


23. Total of Part 5                                                                                                         $   474.179
    Add lines 19 through 22. Copy the total to line 84.                                                                 1

24. Is any of the property listed in Part 5 perishable?
    [Z]     No
    D       Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    0       No
    [Z]     Yes. Book value    $ 10, 359 . 99    Valuation method  cost
                                                                  --------- Current value $10,369.99

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    [Z] No
    D       Yes

             Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    [Z]    No. Go to Part 7.

    D Yes. Fill in the information below.
         General description                                             Net book value of    Valuation method used         Current value of debtor's
                                                                         debtor's interest    for current value             interest
                                                                         (Where available)
28. Crops-either planted or harvested
                                                                          $_ _ _ _ __                                       $ _ _ _ _ _ _ __

29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                          $_ _ _ _ __                                       $ _ _ _ _ _ _ __

30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                          $_ _ _ _ __                                       $ _ _ _ _ _ _ __

31. Farm and fishing supplies, chemicals, and feed
                                                                          $_ _ _ _ __                                       $ _ _ _ _ _ _ __

32. Other farming and fishing-related property not already listed in Part 6
                                                                          $_ _ _ _ __                                       $,_ _ _ _ _ _ __


 Official Form 206A/B                                     Schedule A/B: Assets- Real and Personal Property                                page 3

     Case 1:20-bk-00599-HWV                         Doc 297 Filed 05/12/20 Entered 05/12/20 19:52:04                                      Desc
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Debtor          Roman Catholic Diocese of Harrisburg                                          Case number (iflmown),_2_0_-_00_5_9_9_ _ _ _ _ _ _ _ __
               Name




33. Total of Part 6.                                                                                                           $,_ _ _ _ _ __
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
    El No
    D Yes. Is any of the debtor's property stored at the cooperative?
         □ No
         D     Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    0 No
    D Yes. Book value $_ _ _ _ _ _ Valuatlon method ________ Current value $._ _ _ _ __
36. ls a depreciation schedule available for any of the property listed in Part 6?

     □ No
     □ Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     □ No
     D Yes

             Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     D   No. Go to Part 8.
     0   Yes. Fill in the information below.


    General description                                                       Net book value of     Valuation method            Current value of debtor's
                                                                              debtor's Interest     used for current value      interest
                                                                              (Where available)

39. Office furniture
    See Schedule G                                                             $_ _ _ _ __                                     $,_ _ _ _ _ _ __

40. Office fixtures
    See Schedule G                                                             $_ _ _ _ __                                     $,_ _ _ _ _ _ __

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    See Schedule G                                                             $_ _ _ _ __                                     $,_ _ _ _ _ _ __

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
    42.1 N/A                                                                   $_ _ _ _ __                                      $ _ _ _ _ _ __

    42.2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             $_ _ _ _ __                                      $ _ _ _ _ _ _ __

    42.3,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                            $_ _ _ __                                        $ _ _ _ _ _ __

43. Total of Part 7.
                                                                                                                                $ _ _ _ _ _ _ __
     Add lines 39 through 42. Copy the total to line 86.
44. Is a depreciation schedule available for any of the property listed in Part 7?

     El No
     D Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     El No
     D Yes

 Official Form 206A/B                                       Schedule A/B: Assets -    Real and Personal Property                             page 4

      Case 1:20-bk-00599-HWV                         Doc 297 Filed 05/12/20 Entered 05/12/20 19:52:04                                       Desc
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 Debtor          Roman Catholic Diocese of Harrisburg                                       Case number (ifknown,c2
                                                                                                                  _0_-_0_0_S_g_g___________
                 Name




fijfij     Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     D No. Go to Part 9.
     0 Yes. Fill in the information below.

    General description                                                     Net book value of     Valuation method used   Current value of
                                                                            debtor's interest     for current value       debtor's interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
    HIN, or N-number)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47 _1 See Schedule G                                                     $_ _ _ _ __                                  $._ _ _ _ _ _ __
    47.2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                       $_ _ _ _ __                                  $._ _ _ _ _ _ __
    47.3_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                       $_ _ _ _ __                                  $._ _ _ _ _ _ __
    47.4_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                       $ _ _ _ _ __                                 $, _ _ _ _ _ _ __


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1 N/A                                                                 $ _ _ _ _ __                                 $,_ _ _ _ _ __

    48.2._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                        $_ _ _ __                                    $,_ _ _ _ _ __


 49. Aircraft and accessories

    49.1 N/A                                                                 $ _ _ _ __                                   $ _ _ _ _ _ _ __

    49.2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                         $_ _ _ _ __                                  $ _ _ _ _ _ _ __


 50. Other machinery, fixtures, and equipment (excluding farm
     machinery and equipment)

     See Schedule G                                                          $_ _ _ _ __                                  $ _ _ _ _ _ __



 51. Total of Part 8.
     Add lines 47 through 50. Copy the total to line 87.



 52. Is a depreciation schedule available for any of the property listed in Part 8?
     IZJ   No
     D     Yes

 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     IZJ   No
     D     Yes




  Official Form 206A/B                                     Schedule A/B: Assets- Real and Personal Property                          page 5

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    Debtor
                      Roman Catholic Diocese of Harrisburg                                            Case number   (ifknown),_2_0_-0_0_5_9_9__________
                      Name




•¥11             Real property

i   54. Does the debtor own or lease any real property?
        D No. Go to Part 10.
        12J Yes. Fill in the information below.
    55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property                    Nature and extent      Net book value of     Valuation method used    Current value of
        Include street address or other description such as     of debtor's Interest   debtor's interest     for current value        debtor's Interest
        Assessor Parcel Number (APN), and type of property      In property            (Where available)
        (for example, acreage, factory, warehouse, apartment
        or office building), if available.
                                                                                       $,_ _ _ __                                     $ _ _ _ _ _ _ __
        55 . 1 See Schedule G

        55.2._ _ _ _ _ _ _ _ _ _ _ _ _ __                                              $,_ _ _ __                                     $_ _ _ _ _ _ __


        55.3,_ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            $,_ _ _ __                                     $_ _ _ _ _ _ __


        55.4,_ _ _ _ _ _ _ _ _ _ _ _ _ __                                              $,_ _ _ __                                     $_ _ _ _ _ _ __

        55.5 _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            $,_ _ _ __                                     $ _ _ _ _ _ __

        55.6_ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                             $ _ _ _ __                                     $,_ _ _ _ _ __



    56. Total of Part 9.                                                                                                              $,_ _ _ _ _ _ __
        Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


    57. Is a depreciation schedule available for any of the property listed in Part 9?
        [Zj     No
        D       Yes
    58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        [Zj     No
        D       Yes

                 Intangibles and intellectual property

        Does the debtor have any interests in intangibles or intellectual property?
        0      No. Goto Part 11.
        D Yes. Fill in the information below.
             General description                                                       Net book value of     Valuation metho~          Current value of
                                                                                       debtor's Interest     used for current Value    debtor's interest
                                                                                       (Where available)
    60. Patents, copyrights, trademarks, and trade secrets
                                                                                        $_ _ _ _ __                                    $,_ _ _ _ _ __

    61. Internet domain names and websites
                                                                                        $ _ _ _ _ _ __                                 $_ _ _ _ _ __

    62. Licenses, franchises, and royalties
                                                                                        $ _ _ _ _ __                                   $ _ _ _ _ _ _ __

    63. Customer lists, mailing lists, or other compilations
                                                                                        $ _ _ _ _ __                                   $ _ _ _ _ _ _ __

    64. Other intangibles, or Intellectual property                                     $ _ _ _ _ __                                   $ _ _ _ _ _ __

    65. Goodwill
                                                                                        $ _ _ _ __                                     $ _ _ _ _ _ __


    66. Total of Part 10.                                                                                                              $ _ _ _ _ _ _ __
        Add lines 60 through 65. Copy the total to line 89.




     Official Farm 206A/B                                           Schedule A/B: Assets- Real and Personal Property                              page 6

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 Debtor           Roman Catholic Diocese of Harrisburg                                                Case number   (ltknown)_2_0_-0_0_5_9_9___________
                  Name




 67. Do your lists or records include personally Identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     □      No
     D      Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     0      No
     D      Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     □      No
     D      Yes

,, I Iid      All other assets

 70. Does the debtor own any other assets that have not yet been reported on this form?
     Include all interests in executory contracts and unexpired leases not previously reported on this form.
     D      No. Go to Part 12.
     121    Yes. Fill in the information below.
                                                                                                                                                 Current value of
                                                                                                                                                 debtor's interest
 71. Notes receivable
     Description (include name of obliger)
      N/A                                                                                                                            =➔
                                                                              Total face amount   doubtful or uncollectlb!e amount

 72. Tax refunds and unused net operating losses {NOLs)
     Description (for example, federal, state, local)
      N/A
                                                                                                                 Tax year _ _ _ __
                                                                                                                 Taxyear _ _ _ __            $,_ _ _ _ _ __
                                                                                                                 Tax year _ _ _ __           $,_ _ _ _ _ __

 73. Interests in insurance policies or annuities
      N/A

 74. Causes of action against third parties {whether or not a lawsuit
     has been filed)
      See Exhibit NB 11.74/75                                                                                                                $   Unknown
     Nature of claim                    Unknown

     Amount requested                   $   Unknown

 75. Other contingent and unliquidated claims or causes of action of
     every nature, Including counterclaims of the debtor and rights to
     set off claims
      See Exhibit NB 11.74/75                                                                                                                $_U_n_kn_o_w_n_ _ _ __
      Nature of claim
                                       -Unknown
                                         -------------
     Amount requested                   $   Unknown
                                            Note for 76: The Debtor is not typically advised of the nature and extent of such gifts until the donor
 76. Trusts, equitable or future interests in property
                                            either gives notice to the Debtor or the donor (in the case of testamentary gifts) dies and the
                                            Debtor is notified by the donor's estate representative. At this lime, the Debtor is not aware

      -
                                                                      t,,,,
        _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ o"fl"he""'aa ,,.-'.,"'.,'rnnt"or value of any such gifts. To the extent the Debtor leams of such gifts $ _ _ _U_n_k_n_o_w_n_ _
                                           11 a ay71 av  10 xi d as of the Petition Date, the Schedules will be amended.
 77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
     N/A
                                                                                                                                             $ _ _ _ _ _ __

 78. Total of Part 11.
                                                                                                                                            I$ Unknown
      Add lines 71 through 77. Copy the total to line 90.

 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
      l2J   No
      D     Yes

  Official Farm 206.AJB                                         Schedule A/B: Assets- Real and Personal Property                                            page 7

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 Debtor         Roman Catholic Diocese of Harrisburg                                                         Case number (itknown)_2_0_-_0_0_5_9_9__________
               Name




__s_u_m_m_a_,:y
            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _'"""\


 In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                               Current value of                          Current value
                                                                                      personal property                         of real property

 80. Cash, cash equivalents, and financial assets. Copy line 5, Parl 1.
                                                                                         $6,835,795.52

 81. Deposits and prepayments. Copy line 9, Parl 2.
                                                                                         $347,403


 82. Accounts receivable. Copy line 12, Part 3.
                                                                                         $194,477.69

 83. Investments. Copy line 17, Part 4.                                                  $17,773.51

 84. Inventory. Copy line 23, Parl 5.
                                                                                         $474,179

 85. Farming and fishing-related assets. Copy line 33, Parl 6.                           $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Parl 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8 .
                                                                                         $0.00

 88. Real property. Copy line 56, Parl 9. .                              .......................................... ~

 89. Intangibles and Intellectual property. Copy fine 66, Parl 10.
                                                                                         $0.00

 90. All other assets. Copy line 78, Part 11.                                       + $ Unknown

 91. Total. Add lines 80 through 90 for each column ...              .. .... 91a.   .___$_u_n_k_n_o_w_"_         __.I+   91bl   $_0_.o_o_ _ __




 92. Total of all property on Schedule A/B. Lines 91 a+ 91 b = 92.                                                                                 $   Unknown




 Official Form 206A/B                                     Schedule A/B: Assets -               Real and Personal Property                                  page 8

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Roman Catholic Diocese of Harrisburg                        Schedule A/B Part 1                                                         AMENDED
Case No.: 1:20-00599 HWV                                  Cash & Cash Equivalents                                                Exhibit A/B.1.3




First National Bank           Roman Catholic.Diocese of Harrlsburg                                                xxxx5731 $         3,199,962,00
First National Bank           Credit Card Deposit                                                               xxxxx7898                76,269.32
First National Bank           Reserve Account                                                                                          670,099.20.
PNC Bank                      Cemetery Deposit Account                                                                                      362.42
PNC Bank                      Operating Account                                                                 xxxxxx0537             627,985.75
PNC Bank                      Payroll Account (ZBA)                                                            xxxxxx3375               (37,111.20)
PNC Bank                      Collateral Account                                                                xx.xxxx2348          1,500,001.63
PNC Bank                      Catholic Campus Ministry- Millersville                                           xxxxxx9327                 5,086.81
PNC Bank                      Catholic Campus Ministry - Millersville                                          xxxxxx6552                   265.59
PNC Bank                      Catholic Campus Ministry - Millersville                                           xxxxx8014                 1,542.28
PNC Bank                      Insurance Acct                                                                     xxxx2616
PNC Bank                      Catholic Campus Ministry - F & M College                                         xxxxxx1215                   3,442.59
Orrstown Bank                 Catholic Campus Ministry - Shippensburg                                           . xxxxxx9187                 . 565:00
M & T Bank                    Catholic Campus Ministry - Bucknell                                              xxxxxx4877                   1,873.32
M & T Bank                    Catholic Campus Ministry - Bucknell Mass Account                                  xxxxxx8656                  1,1.63.61
M & T Bank                    Catholic Campus Ministry - Gettysburg                                              xxxx2156                      933.72
First National Bank
First Natlonal Bank
Fulton Bank
                              Society for the Propagation of the Faith
                              St. Thomas More Society of Central PA
                              Catholic Campus Ministry - York College
                                                                                                                xxxxxx8932
                                                                                                               xxxxxx9832
                                                                                                                  xxxx3023
                                                                                                                                       ..
                                                                                                                                       **
                                                                                                                                              452,25
First Columbia Bank           Catholic Campus Ministry - Bloomsburg                                                xx9923                   1,769.93
First Columbia Bank           Catholic Campus Ministry - Bloomsburg                                                xx9934                   1,853:12

Total                                                                                                                                  6,056,517.34


Notes:
  Note: Some of the foregoing amounts include funds that are restricted by donor and are not available for general use by the Debtor.

  Note: Included above are custodial funds which the Debtor holds and administers for the benefit of third parties. The Debtor is a
  trustee or a conduit for transfer of the funds and, therefore, such custodial funds are not property of the estate pursuant to
  11 U.S.C. § 541. Custodial funds total $26,941.97 as of the petition date.

  Note: PNC Bank advised the Debtor that there are accounts not listed above that utilize the tax JD# of the Debtor. The Debtor has
  subsequently reached out to other financial institutions to identify any additional bank accounts that may be utilizing the tax
  ID# of the Debtor. The Debtor understands that certain non-Debtor entities historically used the Debtor's EIN to establlsh bank
  accounts and as a result there are numerous accounts that are not property of the Debtor where the Debtor tax ID# is used.
  The accounts are titled in the name and/or the address of the non-Debtor entity, the Debtor is not a signer on the accounts,
  and the accounts are addressed directly to the account owner. The Debtor has been working with the non-Debtor entities
   to correct the improper use of the Debtor's EIN. To the extent identified as of the date offiling these Schedules, these accounts are
   listed in the Statement of Financial Affairs (Section 11). The bank accounts noted on Statement of Financial Affairs Exhibit 11.21.2
  are Trust Property held for another and are not property of the estate pursuant to 11 U.S.C. §541.To the extent the Debtor identifies
  additional accounts that need to be disclosed in Schedule A/B or the Statement ofF!nancial Affairs, the Debtor will file amended
  information.

  ** In the original filing of the Schedules, this account was incorrectly listed as a Debtor account. The account is an asset of a third party
 religious organization which was using the EIN of the Debtor. This account should have been listed as Property Held for Others in
 the Statement of Financial Affairs.




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Roman Catholic Diocese of Harrisburg           SCHEDULE A/B                                        AMENDED
Case No.: 1:20-00599 HWV                      Part 2 Question 8                               EXHIBIT A/8.2.8
                                               PREPAYMENTS




Retainer for Profes'slonal Sei-vlces             Keegan, Linscott, and Associates, P.C.               85,866
Retainer for Professional Services               Kleinbard, LLC                                       52,793

Total Prepayments                                                                         $          332,403




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Roman Catholic Diocese of Harrisburg
                                                 Schedule A/B Part 4                                     Exhibit A/B.4.15
Case No.: 1:20‐00599 HWV
                                                    Investments

                  15. Non‐publicly traded stock and interests in incorporated and unincorporated businesses,
                                 including any interest in an LLC, partnership, or joint venture

                                                                                                              Current Value of
    Bank Name                              Account Name                              Account Number           Debtor's Interest
                   Select Asset Management
                   The Roman Catholic Diocese of Harrisburg Irrevocable Trust B52896002
JP Morgan          Growth Fund & Fixed Income Fund                              B52897000
                           Family Life Ministry ‐ Retrouvaille Program Account                            $            1,653.37
                           Mildred J & Harold B Heiss Flowers Fund ‐ St. Joseph's Cemetery                              6,067.14
                           Gettysburg College ‐ Campus Ministry                                                        1,476.23
                           Bucknell University ‐ Campus Ministry                                                        7,760.50
                           C.L.E.V.‐ Young Adult Ministry                                                                816.27


Total                                                                                                    $           17,773.51




Note:
  Some of the foregoing amounts may include amounts that are restricted by donors or third parties
  and not available for general use by the debtor. In addition, the above may include custodial amounts
  which the debtor holds and administers for other parties.




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Roman Catholic Diocese of Harrisburg                       Schedule A/B                                 EXHIBIT A/B 5.21
Case No.: 1:20‐00599 HWV                                      Part 5



                                                  Inventory Counts Schedule
                                                                          Valuation Method   Current Value of Debtors
Description                        Date of Last Count Net Book Value      Used               Interest
Cemetery Inventory ‐ Crypts                  1/31/2020 $       336,704.56    Cost             $               336,704.56

Cemetery Inventory ‐ Foundations           1/31/2020            53,567.98     Cost                            53,567.98

Cemetery Inventory ‐ Niches                1/31/2020            74,257.63     Cost                            74,257.63

Cemetery Inventory ‐ Vaults                1/31/2020             4,965.41     Cost                             4,965.41

Cemetery Inventory ‐ Urns                  1/31/2020             4,683.05     Cost                             4,683.05


Total Book Value of Inventory                          $       474,178.63                    $               474,178.63




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Roman Catholic Diocese of Harrisburg                                      SCHEDULE A/B                                                        Exhibit A/B 11.74/75
Case No.: 1:20‐00599 HWV                                                     PART 11



                                      74. Causes of action against third parties (whether or not a lawsuit has been filed)
                                       75. Other contingent and unliquidated claims or causes of action of every nature


                                                                                                                                             Current Value Of Debtor's
                                  Named                                                Nature of Claim               Amount Requested                 Interest

 THE TRAVELERS COMPANIES, INC.                                               Insurance Coverage                           Unknown                    Unknown

 ZURICH NORTH AMERICAN INSURANCE COMPANY                                     Insurance Coverage                           Unknown                    Unknown

 UNDERWRITERS AT LLOYD’S LONDON;                                             Insurance Coverage                           Unknown                    Unknown

 THE NATIONAL CATHOLIC RISK RETENTION GROUP                                  Insurance Coverage                           Unknown                    Unknown

 INTERSTATE FIRE & CASUALTY COMPANY                                          Insurance Coverage                           Unknown                    Unknown

 COLONIAL PENN LIFE INSURANCE COMPANY                                        Insurance Coverage                           Unknown                    Unknown

 CATHOLIC MUTUAL GROUP                                                       Insurance Coverage                           Unknown                    Unknown

 ADORERS OF THE BLOOD OF CHRIST                                              Tort Liability                               Unknown                    Unknown

 ARCHDIOCESE OF NEWARK                                                       Tort Liability                               Unknown                    Unknown

 ARCHDIOCESE OF NEW YORK                                                     Tort Liability                               Unknown                    Unknown

 SOCIETY OF THE PRECIOUS BLOOD, CINCINNATI PROVINCE, INC.                    Tort Liability                               Unknown                    Unknown
 CONGREGATION OF THE HOLY SPIRIT, PROVINCE OF THE UNITED
 STATES                                                                      Tort Liability                               Unknown                    Unknown

 THE REDEMPTORIST FATHERS OF THE STATE OF PENNSYLVANIA                       Tort Liability                               Unknown                    Unknown

 DIOCESE OF MEMPHIS                                                          Tort Liability                               Unknown                    Unknown

 DIOCESE OF RICHMOND                                                         Tort Liability                               Unknown                    Unknown

 DIOCESE OF ALLENTOWN                                                        Tort Liability                               Unknown                    Unknown

 OBLATES OF ST. FRANCIS DESALES, INC.                                        Tort Liability                               Unknown                    Unknown

 THE PROVINCE OF SAINT AUGUSTINE OF THE CAPUCHIN ORDER                       Tort Liability                               Unknown                    Unknown
 MISSIONARY OBLATES OF MARY IMMACULATE EASTERN
 PROVINCE, INC.                                                              Tort Liability                               Unknown                    Unknown

 SISTERS OF SAINT JOSEPH                                                     Tort Liability                               Unknown                    Unknown
 THE MARYLAND PROVINCE OF THE SOCIETY OF JESUS AND ITS
 CIVIL LAW COUNTERPART CORPORATION OF THE ROMAN
 CATHOLIC CLERGYMEN                                                          Tort Liability                              Unknown                     Unknown



 Total                                                                                                                   Unknown                     Unknown




 Note: The Debtor may have claims against certain third parties who are or have been co‐defendants in certain litigation alleging abuse claims against the
 Debtor or who have not been named in such suits but may still be liable to the Debtor for contribution or indemnification arising out of such claims.
 Such claims also include any other insurance coverage which may be discovered. All parties and amounts which the Debtor might recover
 are not known at this time.




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  Fill in this information to identify the case:

  Debtor           Roman Catholic Diocese of Harrisburg

  United States Bankruptcy Court for the: Middle
                                                  - - - - - - - - - - District of ~(s~,,~,.~l---
                                                                                   PA

  Case number        1:20-00599 HWV
  (If known)

                                                                                                                                    IZI   Check if this is an
                                                                                                                                          amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule AJB: Assets - Real and Personal Property (Official Form 206A/BJ and on Schedule G: Executory Contracts and Unexpired Leases
{Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

               List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
   D      No. Go to Part 2.
   @ Yes. Go to line 2.

2. List   in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                      Total claim   Priority amount
   Prlority creditor's name and mailing address                     As of the petition filing date, the claim is: $ 182,609.18      $182,609.18
    Employees of the Roman Catholic Diocese of Harrisburg           Check afl that apply.                         '--'-------
   Individual employee data withheld- provided on request.          □ Contingent
                                                                    D   Unliquidated
                                                                    D   Disputed
   Date or dates debt was incurred                                  Basis for the claim:
                                                                    Accrued Paid Time Off
   Various


   Last 4 digits of account                                         Is the claim subject to offset?
   number                                                           0 No
                                                                    12] Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) (__)


   Priority creditor's name and mailing address                     As of the petition filing date, the claim is: $                 $ _ _ _ _ __
                                                                    Check all that apply.                         '---------
                                                                    □ Contingent
                                                                    D Unliquidated
                                                                    D Disputed
   Date or dates debt was Incurred                                  Basis for the claim:



   Last 4 digits of account                                         Is the claim subject to offset?
   number                                                           0 No
                                                                    D Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) (__)


   Priority creditor's name and mailing address                     As of the petition filing date, the clalm is: $                 $ _ _ _ _ __
                                                                    Check all that apply.                         '---------
                                                                    □ Contingent
                                                                    D   Unliquidated
                                                                    D   Disputed
   Date or dates debt was incurred                                  Basis for the claim:



   Last 4 digits of account                                         Is the claim subject to offset?
   number                                                           0 No
   Specify Code subsection of PRIORITY unsecured
                                                                    D Yes
   claim: 11 U.S.C. § 507(a) L__)




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                   ot-1_
                                                                                                                                            page 1
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     Debtor        Roman Catholic Diocese of Harrisburg                                              Case number (ifknown),_2_0_-0_0_5_9_9_ _ _ _ _ _ _ _ _ __
                   Name



               Additional Page


    Copy _this page lf_more_stJace Is needed•.:contlnue _n_u_mberlng the llne_s _seque_ntiallY from th8
                                                                                                              Total claim                Priority amount
    previous page._ If no additional PRIORITY creditors exist, do_--not fill: out or submit.this_ page,


2       Priority creditor's name and mailing address                                                          $,_ _ _ _ _ __             $,_ _ _ _ __
                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
                           D                                       Contingent
         ----------------- D                                       Unliquidated
                           D                                       Disputed


         Date or dates debt was incurred                      Basis for the claim:



         Last 4 digits of account                             Is the claim subject to offset?
         number                                               □ No
                                                              D    Yes
         Specify Code subsection of PRIORITY unsecured
         claim: 11 U.S.C. § 507(a) L__)


2.       Priority creditor's name and mailing address                                                         $ _ _ _ _ _ __             $ _ _ _ _ _ __

                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
                           D                                       Contingent
         ----------------- D                                       Unliquidated
                           D                                       Disputed


         Date or dates debt was incurred                       Basis for the claim:



         Last 4 digits of account                             Is the claim subject to offset?
         number
                    ----                                      □ No
                                                              D Yes
         Specify Code subsection of PRIORITY unsecured
         claim: 11 U.S.C. § 507(a) L__)

2        Priority creditor's name and mailing address                                                         $                          $
                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
                                                              D    Contingent
                                                              D    Unliquidated
                                                              D    Disputed


         Date or dates debt was incurred                       Basis for the claim:



         Last 4 digits of account                             Is the claim subject to offset?
         number
                    ----                                      □ No
                                                              D    Yes
         Specify Code subsection of PRIORITY unsecured
         claim: 11 U.S.C. § 507(a) L__)


2        Priority creditor's name and mailing address                                                         $                          $
                                                              As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                               D   Contingent
                                                               D   Unliquidaled
                                                               D   Disputed

          Date or dates debt was incurred                      Basis for the claim:



          Last 4 digits of account                             Is the claim subject to offset?
          number                                               □ No
                                                               D   Yes
          Specify Code subsection of PRIORITY unsecured
          claim: 11 U.S.C. § 507(a) L__)




        Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                               page~of ~
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  Debtor           Roman Catholic Diocese of Harrisburg                                               Case number (ifknmvn),_2_0_-_0_0_5_9_9___________
                  Name


1111.          List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                  Amount of claim

B      Nonpriority creditor's name and mailing address
       See E/F.2.3.1
                                                                              As of the petition filing date, the claim is:
                                                                              Check all that apply.
                                                                                                                              $12,648,029.33
                                                                              □   Contingent
                                                                              D   Unliquidated
                                                                              D   Disputed

                                                                              Basis for the claim:

       Date or dates debt was Incurred                                        Is the claim subject to offset?
                                                                              □   No
       Last 4 digits of account number            ----                        D   Yes

:=J    Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:
                                                                              Check all that apply.
                                                                                                                              $ Unknown
       See Exhibit E/F.2.3.2
                                                                              D   Contingent
                                                                              D   Unliquidated
                                                                              □   Disputed

                                                                              Basis for the claim:

       Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                              0   No
       Last 4 digits of account number            ----                        D    Yes

[=:1   Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:
                                                                              Check alf that apply.
                                                                                                                              $ Unknown
        See Exhibit E/F.2.3.3
                                                                              D    Contingent
                                                                              D    Unliquidated
                                                                              D    Disputed

                                                                              Basis for the claim:

       Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                              □    No
       Last 4 digits of account number            ----                        D    Yes

~ Nonpriorlty creditor's name and mailing address                             As of the petition filing date, the claim is:   $ Unknown
        Sealed Exhibit E/F.2.3.4                                              Check all that apply.
                                                                              □    Contingent
                                                                              □    Unliquidated
                                                                              □    Disputed

                                                                              Basis for the claim:

       Date or dates debt was incurred                                        ls the claim subject to offset?
                                                                              □    No
       Last 4 digits of account number            ----                        D    Yes
                                                                                                                                                           ---~·

1:::1 Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is:
                                                                                                                              $
                                                                              Check all that apply.
                                                                              D    Contingent
                                                                              D    Unliquidated
                                                                              D    Disputed

                                                                              Basis for the claim:

       Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               □ No
       Last 4 digits of account number            ----                        D    Yes

~ Nonpriority creditor's name and mailing address                             As of the petition filing date, the claim Is:
                                                                              Check all that apply.                           $
                                                                              D    Contingent
                                                                              D    Unliquidated
                                                                              □    Disputed

                                                                               Basis for the claim:

        Date or dates debt was incurred                                       Is the claim subject to offset?
                                                                              □    No
        Last 4 digits of account number            ----                       D    Yes



       Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page~of ..1_
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Debtor
                 Roman Catholic Diocese of Harrisburg                             Case number (ifknown),_2
                                                                                                         _0_-_0_0_5_9_9__________
                Name


               Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                               Total of claim amounts



                                                                                               5a.
                                                                                                               $182,609.18
5a. Total claims from Part 1




                                                                                               5b.     +       $   Unknown
Sb. Total claims from Part 2




Sc. Total of Parts 1 and 2
                                                                                                5c.
                                                                                                               $   Unknown
    Lines 5a   + 5b = 5c.




   Official Form 206E/F                      Schedule Elf: Creditors Who Have Unsecured Claims                                           page :!_ of_:!_
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Roman Catholic Diocese of Harrisburg                                                                                                                                                                                                AMENDED

Case No.: 1:20-00599 HWV                                                                                                                                                                                                  Exhibit E/F.2.3.1
                                                                                                         Schedule E/ F



                                                                                                                             ,    .          -1     I
                                                                          ..                 _ ~ _ Unsecured ~r_ed.J!ors     -~                                                                                                M
                                                                                                                                                                                                                               ==-
Name                                                                                                    Postal/ Zip                       rnmlllll      Subject to   1
                                                                                                                                                                            •.      Unliquid-             .         .   ,
                                Address                      Address 2   City               State                                                        Setoff?         Contingent ated      Disputed Basis for Claim Amount Due
                                                                                                        Code                          .   ~
                  DinrP<:Pn
Hanisbum Priest Pension Plan    4800 Union Deoosit Rd                    Hanisburo
                                                                                                                      II.                                                                                                 12 500 000.00
                                                                                            PA          17111-3710                                                                                     Unsecured Loan

Ahold Financial Services        3213 Pavsohere Circle                    Chicaao            IL          60674
                                                                                                                           2987

                                                                                                                            66
                                                                                                                                          43647

                                                                                                                                          Various
                                                                                                                                                           No

                                                                                                                                                           No                                          Trade Pavables
                                                                                                                                                                                                                           -    341.81

Annela Theresa Gennaria         146 West Third Street                    8Ioomsburo         PA          17815              NIA            Various          No                                          Trade Pa"-'bles        1 978.80

Best Line Eauipment             6700 Allentown Blvd                      Hanisbura          PA          17112              NIA            Various          No                                          Trade Pavables               44.62

Browns Landscaninn LLC          235 West 4th Street                      Bloomsburo         PA          17815              3112           Various          No                                          Trade Pav.,bles          425.00

Brubaker Inc.                   PO Box 4334                              Lancaster          PA          17604-4334         4412           Various          No                                         Trade Pavables            727.44

C F Acri And Son Inc.           3601 N. Sixth St. (Rear1                 Harrisburo         PA          17110              NI A           Various          No                                         Trade Pavables          4,604.00

cathedral Co=ration             632 Ellsworth Road                       Rome               NY          13441              NI A           Various          No                                         Trade Pavables         30 473.25

canital Business Sv<tems        2708 Commerce Dr Ste 100                 Harrisbura         PA          17110              953C           Various          No                                         Trade Pawibles            586.60

catholic Ennaned Encounter      124 Chatham Drive                        Oakdale            NY          11769-1436         0304           Various          No                                         Trade Pavables                80.00

catholicnhillv.com              222 N 17th St 9th Floor                  Philadelnhia       PA          19103              NIA            Various          Na                                         Trade Pavables            950.00

Chiedozie F Ononuiu             16300 Old Emmitsbura Rd.                 Emmitsbura         MD          21727              4449           Various          No                                         Trade Pavables            304.00

                                PO Box 660579                            Dallas             TX          75266-0579         1250           Various          No                                         Trade Pavables                12.47

Demnsev                         1200 Mid Vallev Drive                    Jessun             PA          18434              286            Various          No                                         Trade Pavables            127.38

Dominican Province St. Josenh   PO Box 5087                              West Hvattsville   MD          20782              8149           Various          No                                         Trade Pavables            517.88

D'Vinci Interactive Inc.        28 S Potomac St, 4th Floor               Haaerstown         MD          21740              1010           Various          No                                         Trade Pavables          1.210.00

EP Snnrts Officiatinn           2410 Walnut Bottom Road                  carlisle           PA          17015              NIA            Various          No                                         Trade Pav;,bles           160.00

Evans Burial Vaults, Inc.       IS Gravbill Road                         Leola              PA          17540              N/A            Various          No                                         Trade Pavables          1,120.00

Felicia Obrien                  3 Kinn Ave                               Shamokin Dam       PA          17876              NIA            Various          No                                         Trade Pavables          2 473.50

Filson Water. LLC               11 Roadwav Drive STE A                   carlisle           PA          17015-8836         1016           Various          No                                         Trade Pavables                19.90

Fletchers Services              106 SYark Rd                             Dillsbura          PA          17019              NIA            Various          No                                         Trade Pavables            165.00

Forever Media, Inc.             275 Radio Road                           Hanover            PA          17331              4737           Various          No                                         Trade Pavables            480.00

Fr Javed Kashif                 68 Center Street                         Danville           PA          17821              NIA            Various          No                                         Trade Pavables             49.47

Fr John A Szada Jr              430 Monasterv Road                       Elvsbura           PA          17824              NIA            Various          No                                         Trade Pavables            298.47

Fr Olusola Adewole              4504 21 St.                              Mount Rainier      MD          20712-2408         NIA            Various          No                                         Trade Pav.,bles           107.98

,Francis C Gorman               19 Kensinqton Square                     Mechanicsbura      PA          17050              NIA            Various          No                                         Trade Pavables            395.76




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                                                                                                        Schedule E/F




                                                                                                    rrnvm;•u~~
                                                                                                                    last4of
Name                               Address                       Address 2   City
                                                                                                                                 [!fflllll
                                                                                            State                      Account                            Contingent   ;,Gtrtt-rHB      ,;ij,jJ,ij
                                                                                                         ~I-
                                                                                                       ll@ttf                    ~            . .- ,,r:
                                                                                                                                             ilil
                                                                                                                       Number

Franciscan Friars                  PO Box 188                                Loretto        PA         5940             1951     Various        No                     Trade Pavables         4 706.00

Guernsey Office Products Inc.      PO Box 61770                              Harrisburo     PA         17106            6100     Various        No                     Trade Payables           387.09

HB McClure Comoanv                 600 S 17th St. PO Box 1745                Harrisbum      PA         17104            742M     Various        No                     Trade Pavables         1468.17

Homunas Familv Home Center, I nc. 6005 Bluebird Ave.                         Linnlestown    PA         17112             54      Various        No                     Trade Pavables           103.47

Huahes Awards & Soortina           6 West Main St.                           Hummelstown    PA         17036            NIA      Various        No                     Trade Pavables           710.00

!Heart Media Inc.                  PO Box 406372                             Atlanta        GA         30384-6372       1714     Various        No                     Trade Payables         1 900.00

Jeffrey'S Flowers                  5217 Simpson Ferry Rd                     Mechanicsbum   PA         17050            NIA      Various        No                     Trade Pavables           210.45

Jose□h   C carolin                 4276 Sorina Rd                            Chambersburo   PA         17201            NIA      Various        No                     Trade Pavables         1,155.621

Keeton Lockwood                    4800 Union Oeoosit Road                   Harrisburo     PA         17111-3710       NIA      Various        No                     Trade Payables           131.10

Kelsi J Graff                      109 Middle Road                           Halifax        PA         17032            5276     Various        No                     Trade Payables           160.00

Kerrvs Lawn And Garden             641 N Mountain Road                       Harrisbura     PA         17112            4804     Various        No                     Trade Payables           700.88

Law And Grace Consultina           810 Trollev Rd                            York Sorinas   PA         17372            NIA      Various        No                     Trade Payables        13 000.00

Lebanon Buildina Suooly            225 N 10th Street                         Lebanon        PA         17046-4898       1907     Various        No                     Trade Payables            43.18

Lowes                              PO Box 530970                             Atlanta        GA         30353            9383     Various        No                     Trade Payables           308.55

Maria Elizabeth Erline               723 Sorinas Ave                         Gettvsbura     PA         17325            NIA      Various        No                     Trade PaYables           250.00
Mount St. Mary's University - Acct &
Fin                                  16300 Old Emmitsbura Road               Emmitsbura     MD         21727            9952     Various        No                     Trade Payables        48,843.49

North Haven Ao Center LLC          853 Elvsbura Rd.                          Danville       PA         17821            NIA      Various       No                      Trade Payables            44.93

Oliveris Cleanina Service          180 Homestead Lane                        Mifflinbum     PA         17844            N/A      Various       No                      Trade Pavables           320.00

Pennsvlvania catholic Conference   214 State St PO Box 2835                  Harrisbum      PA         17105            NIA      Various       No                      Trade Pavables        12,195.76

Price Rite                         236 Raritan Center Pkwv                   Edison         NJ         8837             1373     Various       No                      Trade Pavables           433.25

R F Faoer Comoanv                  3901 Derrv St.                            Harrisburo     PA         17111            4659     Various       No                      Trade Payables         l 046.07

Rozema Printina. LLC               4790 Derrv Street                         Harrisburo     PA         17111            N/A      Various       No                      Trade Payables           912.07

Saint John Viannev Center          151 Woodbine Road                         Downinatown    PA         19335            1914     Various       No                      Trade Pavables           640.00

Sisters-Saints Cvril & Mthds       580 Railroad St                           Danville       PA         17821            NIA      Various       No                      Trade Payables         4,345.11

Shred-It USA LLC                   595 East Oreaon Rd                        Lititz         PA         17543            N/A      Various       No                      Trade Pavables            48.60
Standard Concrete Products
Company                            700 N Shermans Street                     York           PA         17402            9150     Various       No                      Trade Payables           185.81




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Roman Catholic Diocese of Harrisburg
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                                                                                                                           Schedule E/ F




                                                                                                                     t!m-,$1.l:!F.m@. . .                      It;&

Name                                                                                                                      Postal/, Zip                  Date
                                     Address                        Address 2       City                  State           Code .                        Incurred
                                                                                                                                          II        .

Stauffers of Kissel Hill            IPO Box 1500                                    Lititz                PA              17543              1440       Various           No                                              Trade Pavables                   89.97

                                     PO Box 1070                                    Sunburv               PA              17801              N/A        Various           No                                              Trade Pavables                  896.00

                                     PO Box 209                                     Dewart                PA              17730              4500       Various           No                                              Trade Pavables                   44.15

Tallev Petroleum Entemrises Inc      10046 Allentown Blvd                           Grantville            PA              17028              2190       Various           No                                              Trade Pavables                1 816.00

The Master Teacher                   PO Box 1207                                    Manhattan             KS              66505              NIA        Various           No                                              Trade Pavables                  3S7.22

The Sherwin Williams Comn.snv        4919 Jonestown Road                            Harrisburn            PA              17109-1705        465-8       Various           No                                              Trade Pavables                   31.16

Tuln@hocken Moutain Snrinn Water 750 Point Townshio Drive                           Northumberland        PA              178S7-8789        3785        Various           No                                              Trade Pavables                   53.50

Two Gals' caterinn                   1020 Oranae Street                             Steelton              PA              17113              NIA        Various           No                                              Trade Pavables                  428.00

Tvler M Shanabrook                   212 8arlev Field Cir                           carlisle              PA              17015              N/A        Various           No                                              Trade Pavables                   95.40

Vital Sources LLC                    116 Record Street                              Frederick             MD              21701-5418        K-MW        Various           No                                              Trade Pavables                  350.00

William O Rolon                      1623 Josenhine Ann Drive                       Lebanon               PA              17046              NIA        Various           No                                              Trade Pavables                1 250.00

WXPN                                 PO Box 8419                                    Philadelphia          PA              19101             2092        Various           No                                              Trade Payables                  715.00




!TOTAL                                                                                                                                                                                                                                          1 2,648,029.33

Note 1: Amounts listed above are liquidated amounts owed to creditor for current prepetition claims and those liquidated amounts are not disputed, contingent or unliquidated.

 Note 2: Toe sex abuse daims which are Schedule F claims have been listed and redacted in accordance with the "Debtor's Emergency Motion For An Order Authorizing Toe Debtor To File Under Seal Portions Of Schedule E/F, Toe Creditor Matrix, and Other
 Pleadings And Documents." In the situation where a multiple confidential claimants are represented by one law firm, the number of confidential claimants represented by a law firm is noted and only one entry appears on Schedule F. In all other instances,
Ithere is a separate redacted entry for each potential claimant/creditor.




      Case 1:20-bk-00599-HWV                                  Doc 297 Filed 05/12/20 Entered 05/12/20 19:52:04                                                                   Desc
                                                              Main Document    Page 20 of 36
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                      Exhibit E/F.2.3.2
                                                   Case No.: 1:20‐00599 HWV                                                                       Schedule E/F


                                                                                                                          Unsecured Creditors - Insurance Claims (Non-Abuse Claims)


                                                                                                                                                  Last 4 of
                                                                                                                                    Postal/ Zip               Date         Subject to                Unliquid-
                                                   Name                          Address                  City             State                  Account                               Contingent             Disputed Basis for Claim   Amount Due
                                                                                                                                    Code                      Incurred      Setoff?                  ated
                                                                                                                                                  Number

                                                   Saramia Matos-Rodriquez - A
                                                   MINOR                         3405 Hillcrest Road      Harrisburg       PA       17109           8492      4/9/2019        No            X           X         X     Insurance Claim           Unknown

                                                   David Schaeffer               510 N 2Nd St.            Shamokin         PA       17872           6168      9/25/2019       No            X           X         X     Insurance Claim           Unknown

                                                   Tim Yashur                    36 Washington Rd.        New Freedom      PA       17402           0249      1/19/2020       No            X           X         X     Insurance Claim           Unknown




                        Case 1:20-bk-00599-HWV
                                                   Mary Crosman                  105 Pheasant Run Ln      Hanover          PA       17331           0420      1/27/2020       No            X           X         X     Insurance Claim           Unknown

                                                   Melissa Guy                   34 Tyler Drive           Hanover          PA       17331           7431      11/8/2019       No            X           X         X     Insurance Claim           Unknown

                                                   Patricia Vetovich             4280 Upper Rd.           Shamokin         PA       17872           0444      1/24/2020       No            X           X         X     Insurance Claim           Unknown

                                                   Christine Leibig              111 Fishburn St.         Harrisburg       PA       17109           0573      2/3/2020        No            X           X         X     Insurance Claim           Unknown

                                                   Joseph Brlansky               144 Weldon Drive         York             PA       17404           0614      1/27/2020       No            X           X         X     Insurance Claim           Unknown

                                                   Janice Albright               394 Dermuduan Creek Rd   East Berlin      PA       17316           0631      2/5/2020        No            X           X         X     Insurance Claim           Unknown




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                                                   Angela Heinick                4 W Schoolside Drive     Mechanicsburg    PA       17055           0742      2/12/2020       No            X           X         X     Insurance Claim           Unknown

                                                   Kateri Bright                 254 Huntington Dr.       Mountville       PA       17554           0791      2/13/2020       No            X           X         X     Insurance Claim           Unknown

                                                   Michelle Pieters              605 Woodhall Dr          Willow Street    PA       17584           0904      2/19/2020       No            X           X         X     Insurance Claim           Unknown

                                                   Deborah Miehl                 417 Rabbit Hill Lane     Lancaster        PA       17603           5696      9/9/2019        No            X           X         X     Insurance Claim           Unknown
                                                                                 C/O Silvers Langsam &
                                                                                 Weitzman 2 Penn Center
                                                   Skylar Banks                  Plaza, Suite 1410        Philadelphia     PA       19102           7057      9/17/2016       No            X           X         X     Insurance Claim           Unknown




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                                                   Nancy Barbour                 130 Longview Blvd        Gettysburg       PA       17325           6309      9/29/2019       No            X           X         X     Insurance Claim           Unknown

                                                   Eileen Woolen                 78 Courtyards Dr         Shrewsburg       PA       17361           7012      10/30/2019      No            X           X         X     Insurance Claim           Unknown

                                                   Leslie Wilsbach               4436 Saybrook Lane       Harrisburg       PA       17110           7116      10/31/2019      No            X           X         X     Insurance Claim           Unknown

                                                   Nathan Delp                   6597 Mifflin Ave         Harrisburg       PA       17111           7219      8/23/2019       No            X           X         X     Insurance Claim           Unknown

                                                   Ronald Kline                  70 Dubbers Drive         Etters           PA       17319           7366      11/13/2019      No            X           X         X     Insurance Claim           Unknown




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                                                   Saramia Matos-Rodriquez       3405 Hillcrest Road      Harrisburg       PA       17109           7424      4/9/2019        No            X           X         X     Insurance Claim           Unknown
                                                                                 C/O Valerie Paris 1335
                                                   Kayden Parris                 Karens Way               York             PA       17402           7796      12/18/2018      No            X           X         X     Insurance Claim           Unknown

                                                   Hollingshead, David           2089 Stetler Dr.         Coal Township    PA       17866           9559      6/12/2013       No            X           X         X     Insurance Claim           Unknown




                        Desc
                                                   Fayock, Vincent               550 Burner Ave           Hazelton         PA       18201           5508      8/5/2016        No            X           X         X     Insurance Claim           Unknown
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                      Exhibit E/F.2.3.2
                                                   Case No.: 1:20‐00599 HWV                                                                       Schedule E/F


                                                                                                                          Unsecured Creditors - Insurance Claims (Non-Abuse Claims)


                                                                                                                                                  Last 4 of
                                                                                                                                    Postal/ Zip               Date         Subject to                Unliquid-
                                                   Name                      Address                     City              State                  Account                               Contingent             Disputed Basis for Claim   Amount Due
                                                                                                                                    Code                      Incurred      Setoff?                  ated
                                                                                                                                                  Number


                                                   Meagher, Elizabeth        229 Walton St.              Lemoyne           PA       17043           0051      1/5/2017        No            X           X         X     Insurance Claim           Unknown


                                                   Finegan Mickenzie         617 Mnr St                  Columbia          PA       17512           1363      3/20/2017       No            X           X         X     Insurance Claim           Unknown




                        Case 1:20-bk-00599-HWV
                                                   Elizabeth Rodriguez       26 1/2 South Prince St.     Lancaster         PA       17602           1759      3/26/2018       No            X           X         X     Insurance Claim           Unknown


                                                   St Philip The Apostle     2111 Millersville Pike      Lancaster         PA       17603           2342      4/25/2018       No            X           X         X     Insurance Claim           Unknown


                                                   Sherry Koons              203 Hummel St.              Hummelstown       PA       17036           3189      5/4/2018        No            X           X         X     Insurance Claim           Unknown


                                                   Ian Black                 107 Overlook Ave.           Lancaster         PA       17601           7378      11/26/2018      No            X           X         X     Insurance Claim           Unknown


                                                   Beverly Dorsey            122 Curvin Dr               Harrisburg        PA       17112           0418      1/26/2019       No            X           X         X     Insurance Claim           Unknown




Main Document
                                                   Elizabeth Baak            100 Pond Vista Land Apt P   Manheim           PA       17545           0657      2/1/2019        No            X           X         X     Insurance Claim           Unknown


                                                   Kerry Neiderer            506 Poplar St               Hanover           PA       17331           1022      2/16/2019       No            X           X         X     Insurance Claim           Unknown


                                                   Dorothea Parrish          138 Deerfield Dr            Pequea            PA       17565           3333      5/19/2019       No            X           X         X     Insurance Claim           Unknown


                                                   Steven Harkins            407 West King St.           Lancaster         PA       17603           3414      5/30/2019       No            X           X         X     Insurance Claim           Unknown


                                                   Barry Heberling           345 Cedar Lane              Mount Joy         PA       17552           6474      10/8/2019       No            X           X         X     Insurance Claim           Unknown




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                                                   Jessica Goetze            1118 Kochenderfer Rd        Lebanon           PA       17046           6568      10/3/2019       No            X           X         X     Insurance Claim           Unknown


                                                   Nadiad Reich              1645 West Lynn Street       Coal Township     PA       17866           6914      2/1/2019        No            X           X         X     Insurance Claim           Unknown


                                                   Lisa Pantano              865 Oakwood Dr.             Red Lion          PA       17356           7430      11/16/2019      No            X           X         X     Insurance Claim           Unknown


                                                   Barbara Campbell          8405 Bull Rd.               Lewisberry        PA       17339           7658      11/23/2019      No            X           X         X     Insurance Claim           Unknown


                                                   St Theresa Parish         1300 Bridge St.             New Cumberland    PA       17070           7669      12/1/2019       No            X           X         X     Insurance Claim           Unknown




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                                                   Thomas Wagner             827 Spruce St               Kulpmont          PA       17834           7685      12/1/2019       No            X           X         X     Insurance Claim           Unknown


                                                   Karen Mclaughlin          136 W Main St.              Elizabethville    PA       17023           7819      12/6/2019       No            X           X         X     Insurance Claim           Unknown




                        Desc
                                                   Carlos Rojas              565 Poplar Church Rd        Camp Hill         PA       17011           0448      1/21/2020       No            X           X         X     Insurance Claim           Unknown
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                                                   Exhibit E/F.2.3.2
                                                   Case No.: 1:20‐00599 HWV                                                                                     Schedule E/F


                                                                                                                                   Unsecured Creditors - Insurance Claims (Non-Abuse Claims)


                                                                                                                                                                Last 4 of
                                                                                                                                                Postal/ Zip                 Date           Subject to                    Unliquid-
                                                   Name                             Address                     City                 State                      Account                                   Contingent               Disputed Basis for Claim            Amount Due
                                                                                                                                                Code                        Incurred        Setoff?                      ated
                                                                                                                                                                Number


                                                   Ferdinand Caraballo              110 Oakleigh Ave             Harrisburg          PA         17111             0060      1/8/2020           No               X            X          X      Insurance Claim                 Unknown

                                                   Saint Anthony of Padua Parish
                                                   Charitable Trust                 501 East Orange Street      Lancaster            PA         17602             3396      5/30/2019          No               X            X          X      Insurance Claim                 Unknown

                                                   Saint Benedict the Abbot Parish




                        Case 1:20-bk-00599-HWV
                                                   Charitable Trust                1300 Lehman Street           Lebanon              PA         17046             7437      11/17/2019         No               X            X          X      Insurance Claim                 Unknown

                                                   Saint John The Baptist Parish    315 North Constitution
                                                   And School Charitable Trust      Avenue                      New Freedom          PA         17349             7012      10/30/2019         No               X            X          X      Insurance Claim                 Unknown

                                                   Sacred Heart of Jesus Parish
                                                   and School Charitable Trust      558 West Walnut Street      Lancaster            PA         17603             7803      12/3/2019          No               X            X          X      Insurance Claim                 Unknown

                                                   Annunciation B.V.M. Parish
                                                   Charitable Trust                 26 North Third Street       McSherrystown        PA         17344             8102      11/28/2019         No               X            X          X      Insurance Claim                 Unknown

                                                   Annunciation B.V.M. Parish




Main Document
                                                   Charitable Trust                 26 North Third Street       McSherrystown        PA         17344             8194      12/28/2019         No               X            X          X      Insurance Claim                 Unknown

                                                   Saint Catherine Laboure Parish
                                                   and School Charitable Trust    4000 Derry Street             Harrisburg           PA         17111             8352      12/26/2019         No               X            X          X      Insurance Claim                 Unknown

                                                   Saint Joseph Parish Charitable
                                                   Trust                            721 Monroe Street           Berwick              PA         18603             8439      11/2/2014          No               X            X          X      Insurance Claim                 Unknown

                                                   Our Lady of Mercy Parish
                                                   Charitable Trust                 304 Slabtown Road           Catawissa            PA         17820             3432      4/15/2019          No               X            X          X      Insurance Claim                 Unknown

                                                   Sacred Heart of Jesus Parish




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                                                   and School Charitable Trust      558 West Walnut Street      Lancaster            PA         17603             5857      9/14/2019          No               X            X          X      Insurance Claim                 Unknown

                                                   Bucknell University, Catholic
                                                   Campus Ministry                  610 St George St.           Lewisburg            PA         17837             0023      1/1/2018           No               X            X          X      Insurance Claim                 Unknown

                                                                                                                                                                                                                                                                             =======

                                                   TOTAL                                                                                                                                                                                                                     Unknown

                                                                                                                                                                                                                                                                             =======

                                                   Note 1: Amounts listed above are related to insurance claims and are disputed, contingent or unliquidated.

                                                   Note 2: The sex abuse claims which are Schedule F claims have been listed and redacted in accordance with the "Debtor’s Emergency Motion For An Order Authorizing The Debtor To File Under Seal Portions Of




Doc 297 Filed 05/12/20 Entered 05/12/20 19:52:04
                                                   Schedule E/F, The Creditor Matrix, and Other Pleadings And Documents." In the situation where a multiple confidential claimants are represented by one law firm, the number of confidential claimants represented
                                                   by a law firm is noted and only one entry appears on Schedule F. In all other instances, there is a separate redacted entry for each potential claimant/creditor.




                        Desc
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                                       Exhibit E/F.2.3.3
                                                   Case No.: 1:20‐00599 HWV                                                                                      Schedule E/F


                                                                                                                                          Unsecured Creditors - Affliated Religious Organizations


                                                                                                                                                                Last 4 of
                                                                                                                                                 Postal/ Zip                Date       Subject to            Unliquid-
                                                   Name                                      Address                     City            State                  Account                           Contingent           Disputed Basis for Claim          Amount Due
                                                                                                                                                 Code                       Incurred    Setoff?              ated
                                                                                                                                                                Number


                                                                                             939 East Park Drive Suite
                                                   Catholic Charities, Inc.                  201                         Harrisburg      PA      171111           N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Roman Catholic Diocese Charitable
                                                   Trust                                     4800 Union Deposit Rd       Harrisburg      PA      17111-3710       N/A       Unknown        No         X          X         X     PNC Debt                       Unknown
                                                   Bishop McDevitt High School of




                        Case 1:20-bk-00599-HWV
                                                   Harrisburg                                1 Crusader Way              Harrisburg      PA      17111            N/A       Unknown        No         X          X         X     PNC Debt, Tort, Other          Unknown
                                                   Saint Andrew Parish and School
                                                   Charitable Trust                          12 N. Broad Street          Waynesboro      PA      17268            N/A       Unknown        No         X          X         X     LOC, Tort                      Unknown
                                                   Saint Benedict the Abbot Parish
                                                   Charitable Trust                          1300 Lehman Street          Lebanon         PA      17046            N/A       Unknown        No         X          X         X     LOC, Tort                      Unknown
                                                   Saint Francis Xavier Parish and School
                                                   Charitable Trust                          455 Table Rock Road         Gettysburg      PA      17325            N/A       Unknown        No         X          X         X     LOC, Tort                      Unknown
                                                   Saint Leo the Great Parish and School
                                                   Charitable Trust                          2427 Marietta Avenue        Lancaster       PA      17601            N/A       Unknown        No         X          X         X     LOC, Tort                      Unknown
                                                   Annunciation B.V.M. Parish Charitable
                                                   Trust                                     26 North Third Street       McSherrystown   PA      17344            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Assumption BVM Parish Charitable




Main Document
                                                   Trust                                     119 South Prince Street     Lancaster       PA      17603            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Assumption BVM Parish Charitable
                                                   Trust                                     2 North Eighth Street       Lebanon         PA      17046            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Basilica of the Sacred Heart Parish
                                                   Charitable Trust                          30 Basilica Drive           Hanover         PA      17331            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown

                                                   Christ the King Parish Charitable Trust   P.O. Box 297                Benton          PA      17814            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Corpus Christi Parish and School
                                                   Charitable Trust                          320 Philadelphia Avenue     Chambersburg    PA      17201            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Delone Catholic High School
                                                   McSherrystown                             140 South Oxford Avenue     McSherrystown   PA      17344            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown




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                                                   Divine Redeemer Parish Charitable
                                                   Trust                                     438 West Avenue             Mount Carmel    PA      17851            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Good Shepherd Parish and School
                                                   Charitable Trust                          3435 Trindle Road           Camp Hill       PA      17011            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown

                                                   Harrisburg Catholic Elementary School 212 State Street                Harrisburg      PA      17101            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown

                                                   Holy Angels Parish Charitable Trust       855 Scott Street            Kulpmont        PA      17834            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Holy Family Consolidated School
                                                   Charitable Trust                          728 Washington Street       Berwick         PA      18603-1719       N/A       Unknown        No         X          X         X     Tort and Other                 Unknown

                                                   Holy Family Parish Charitable Trust       555 South 25th Street       Harrisburg      PA      17104            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown




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                                                   Holy Infant Parish Charitable Trust  535 Conewago Creek Road Manchester               PA      17345            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown
                                                   Holy Name of Jesus Parish and School
                                                   Charitable Trust                     6150 Allentown Boulevard Harrisburg              PA      17112            N/A       Unknown        No         X          X         X     Tort and Other                 Unknown




                        Desc
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                               Exhibit E/F.2.3.3
                                                   Case No.: 1:20‐00599 HWV                                                                                     Schedule E/F


                                                                                                                                         Unsecured Creditors - Affliated Religious Organizations


                                                                                                                                                               Last 4 of
                                                                                                                                                Postal/ Zip                Date       Subject to            Unliquid-
                                                   Name                                     Address                     City            State                  Account                           Contingent           Disputed Basis for Claim   Amount Due
                                                                                                                                                Code                       Incurred    Setoff?              ated
                                                                                                                                                               Number


                                                   Holy Spirit Parish Charitable Trust      300 West Pine Street        Palmyra         PA      17078            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Holy Trinity Catholic School             231 South Beaver Street     York            PA      17403            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Holy Trinity Parish Charitable Trust     409 Cherry Street           Columbia        PA      17512            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Immaculate Conception B.V.M. Parish




                        Case 1:20-bk-00599-HWV
                                                   Charitable Trust                         1730 Fowler Avenue          Berwick         PA      18603            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Immaculate Conception B.V.M. Parish
                                                   Charitable Trust                         106 Carlisle Street         New Oxford      PA      17350            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Immaculate Conception BVM Parish
                                                   Charitable Trust                         256 Tract Road              Fairfield       PA      17320            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Immaculate Conception BVM Parish
                                                   Charitable Trust                         309 South George Street     York            PA      17403            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Immaculate Heart of Mary Parish
                                                   Charitable Trust                         6084 West Canal Road        Abbottstown     PA      17301-9051       N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Lancaster Catholic High School of
                                                   Diocese of Harrisburg                    650 Juliette Avenue         Lancaster       PA      17601-4360       N/A       Unknown        No         X          X         X     Tort and Other          Unknown




Main Document
                                                   Lebanon Catholic School of Diocese of
                                                   Harrisburg                               1400 Chestnut Street        Lebanon         PA      17042-4522       N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Mary, Gate of Heaven Parish
                                                   Charitable Trust                         188 West McKinley Avenue Myerstown          PA      17067            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Mary, Mother of the Church Parish
                                                   Charitable Trust                         625 Union School Road       Mount Joy       PA      17552            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Mater Dei Latin Mass Community
                                                   Charitable Trust                         110 State Street            Harrisburg      PA      17101            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Mother Cabrini Parish Charitable Trust   214 North Shamokin Street Shamokin          PA      17872            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady Help of Christians Parish




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                                                   Charitable Trust                         732 East Main Street        Lykens          PA      17048            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Fatima Parish Charitable
                                                   Trust                                    C/O 2 North Eighth Street   Lebanon         PA      17046            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Good Counsel Parish
                                                   Charitable Trust                         121 William Street          Marysville      PA      17053            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Hope Parish Charitable
                                                   Trust                                    863 West Chestnut Street    Coal Township   PA      17866            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Lourdes Parish Charitable
                                                   Trust                                    225 Salt Road               Enola           PA      17025            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Lourdes Parish Charitable
                                                   Trust                                    150 Water Street            New Holland     PA      17557            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Our Lady of Lourdes Regional School 2001 Clinton Avenue              Coal Township   PA      17866-1660       N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Our Lady of Mercy Parish Charitable
                                                   Trust                               304 Slabtown Road                Catawissa       PA      17820            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Mount Carmel Parish
                                                   Charitable Trust                    47 South Market Street           Mount Carmel    PA      17851            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




                        Desc
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                             Exhibit E/F.2.3.3
                                                   Case No.: 1:20‐00599 HWV                                                                                   Schedule E/F


                                                                                                                                       Unsecured Creditors - Affliated Religious Organizations


                                                                                                                                                             Last 4 of
                                                                                                                                              Postal/ Zip                Date       Subject to            Unliquid-
                                                   Name                                     Address                    City           State                  Account                           Contingent           Disputed Basis for Claim   Amount Due
                                                                                                                                              Code                       Incurred    Setoff?              ated
                                                                                                                                                             Number
                                                   Our Lady of Refuge Parish Charitable
                                                   Trust                                21169 Cross Road               Doylesburg     PA      17219            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Our Lady of the Angels School            404 Cherry Street          Columbia       PA      17512            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of The Blessed Sacrament
                                                   Parish Charitable Trust                  2121 North Third Street    Harrisburg     PA      17110            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Lady of Visitation Parish




                        Case 1:20-bk-00599-HWV
                                                   Charitable Trust                         305 North Prince Street    Shippensburg   PA      17257            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Our Mother of Perpetual Help Parish
                                                   Charitable Trust                         320 Church Avenue          Ephrata        PA      17522            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Prince of Peace Parish Charitable
                                                   Trust                                    815 South Second Street    Steelton       PA      17113            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Queen of Peace Parish Charitable
                                                   Trust                                    202 Zimmerman Road         Millersburg    PA      17061            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Queen of the Most Holy Rosary Parish
                                                   Charitable Trust                         599 West Center Street     Elysburg       PA      17824            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Resurrection School                      521 East Orange Street     Lancaster      PA      17602-3033       N/A       Unknown        No         X          X         X     Tort and Other          Unknown




Main Document
                                                   Sacred Heart of Jesus Parish and
                                                   School Charitable Trust                  558 West Walnut Street     Lancaster      PA      17603            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Sacred Heart of Jesus Parish and
                                                   School Charitable Trust                  9 N. Brown Street          Lewistown      PA      17044            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Sacred Heart of Jesus Parish
                                                   Charitable Trust                         P.O. Box 136               Cornwall       PA      17016            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Sacred Heart of Jesus Parish
                                                   Charitable Trust                         814 Saint Louis Street     Lewisburg      PA      17837            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Sacred Heart of Jesus Parish
                                                   Charitable Trust                         1031 Sprenkle Road         Spring Grove   PA      17362            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Sacred Heart of Jesus Parish




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                                                   Charitable Trust                         C/O 732 East Main Street   Lykens         PA      17048            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Aloysius Parish Charitable Trust   29 South Queen Street      Littlestown    PA      17340            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Anne Parish and School
                                                   Charitable Trust                         929 North Duke Street      Lancaster      PA      17602            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Anthony of Padua Parish
                                                   Charitable Trust                         501 East Orange Street     Lancaster      PA      17602            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Bernadette Parish Charitable
                                                   Trust                                    C/O 121 William Street     Duncannon      PA      17020            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Bernard Parish Charitable Trust P.O. Box 25               New Bloomfield     PA      17068            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Catherine Laboure Parish and
                                                   School Charitable Trust               4000 Derry Street         Harrisburg         PA      17111            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Saint Catherine of Siena Parish
                                                   Charitable Trust                      955 Robert Fulton Highway Quarryville        PA      17566            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Cecilia Parish Charitable Trust    120 East Lehman Street     Lebanon        PA      17046            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




                        Desc
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                           Exhibit E/F.2.3.3
                                                   Case No.: 1:20‐00599 HWV                                                                                 Schedule E/F


                                                                                                                                     Unsecured Creditors - Affliated Religious Organizations


                                                                                                                                                           Last 4 of
                                                                                                                                            Postal/ Zip                Date       Subject to            Unliquid-
                                                   Name                                   Address                   City            State                  Account                           Contingent           Disputed Basis for Claim   Amount Due
                                                                                                                                            Code                       Incurred    Setoff?              ated
                                                                                                                                                           Number
                                                   Saint Columba Parish and School
                                                   Charitable Trust                       P. O. Box 829             Bloomsburg      PA      17815            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Elizabeth Ann Seton Parish
                                                   Charitable Trust                       310 Hertzler Road         Mechanicsburg   PA      17055            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Francis of Assisi Parish
                                                   Charitable Trust                       1439 Market Street        Harrisburg      PA      17103            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Ignatius Loyola Parish




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                                                   Charitable Trust                       1095 Church Road          Orrtanna        PA      17353            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint James Parish Charitable Trust    505 Woodcrest Avenue      Lititz          PA      17543            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Joan of Arc Parish and School
                                                   Charitable Trust                       359 West Areba Avenue     Hershey         PA      17033            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint John Neumann Parish Charitable
                                                   Trust                                  601 East Delp Road        Lancaster       PA      17601            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint John the Baptist Parish and      315 North Constitution
                                                   School Charitable Trust                Avenue                    New Freedom     PA      17349            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Joseph Parish and School
                                                   Charitable Trust                       68 Center Street          Danville        PA      17821            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Saint Joseph Parish and School
                                                   Charitable Trust                       5055 Grandview Road       Hanover         PA      17331            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Joseph Parish and School
                                                   Charitable Trust                       410 E. Simpson Street     Mechanicsburg   PA      17055            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Joseph Parish and School
                                                   Charitable Trust                       2935 Kingston Road        York            PA      17402            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Joseph Parish Charitable Trust   721 Monroe Street         Berwick         PA      18603            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Joseph Parish Charitable Trust   251 East Main Street      Dallastown      PA      17313            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Saint Joseph Parish Charitable Trust   440 Saint Joseph Street   Lancaster       PA      17603            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Joseph Parish Charitable Trust   109 Broadway              Milton          PA      17847            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Joseph the Worker Parish
                                                   Charitable Trust                       12 East Hanover Street    Gettysburg      PA      17325            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Jude Thaddeus Parish
                                                   Charitable Trust                       P O Box 187               Mifflintown     PA      17059            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Katharine Drexel Parish
                                                   Charitable Trust                       1 Peter Drive             Mechanicsburg   PA      17050            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Luke the Evangelist Parish
                                                   Charitable Trust                       395 South Ridge Avenue    Greencastle     PA      17225            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Margaret Mary Alacoque Parish
                                                   and School Charitable Trust            2848 Herr Street          Harrisburg      PA      17103            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Saint Mark the Evangelist Parish
                                                   Charitable Trust                       395 South Ridge Avenue    Greencastle     PA      17225            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Matthew the Apostle and
                                                   Evangelist Parish Charitable Trust     607 Stoney Creek Drive    Dauphin         PA      17018            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




                        Desc
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                             Exhibit E/F.2.3.3
                                                   Case No.: 1:20‐00599 HWV                                                                                   Schedule E/F


                                                                                                                                       Unsecured Creditors - Affliated Religious Organizations


                                                                                                                                                             Last 4 of
                                                                                                                                              Postal/ Zip                Date       Subject to            Unliquid-
                                                   Name                                    Address                    City            State                  Account                           Contingent           Disputed Basis for Claim   Amount Due
                                                                                                                                              Code                       Incurred    Setoff?              ated
                                                                                                                                                             Number


                                                   Saint Monica Parish Charitable Trust    109 Market Street          Sunbury         PA      17801            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Patrick Cathedral Parish
                                                   Charitable Trust                        212 State Street           Harrisburg      PA      17101            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Patrick Parish and School
                                                   Charitable Trust                        152 East Pomfret Street    Carlisle        PA      17013            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Saint Patrick Parish Charitable Trust   331 West Shamokin Street   Trevorton       PA      17881            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Paul the Apostle Parish
                                                   Charitable Trust                        125 South Spruce Street    Annville        PA      17003            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Peter Parish Charitable Trust
                                                   Columbia                                121 South Second Street    Columbia        PA      17512            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Peter Parish Charitable Trust
                                                   Elizabethtown                           1840 Marshall Drive        Elizabethtown   PA      17022            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Philip the Apostle Parish
                                                   Charitable Trust                        2111 Millersville Pike     Lancaster       PA      17603            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Pius X Parish Charitable Trust    112 Fairview Drive         Selinsgrove     PA      17870            N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   Saint Richard Parish Charitable Trust   201 Adele Avenue           Manheim         PA      17545            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Saint Rita's Parish Charitable Trust    C/O 256 Tract Road         Fairfield       PA      17320            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Rose of Lima Parish and School
                                                   Charitable Trust                        950 West Market Street     York            PA      17404            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Theresa of the Infant Jesus
                                                   Parish and School Charitable Trust      1300 Bridge Street,        New Cumberland PA       17070            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Saint Vincent de Paul Parish
                                                   Charitable Trust                        220 Third Street           Hanover         PA      17331            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   San Juan Bautista Parish Charitable




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                                                   Trust                                   425 South Duke Street      Lancaster       PA      17602            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   Seven Sorrows B.V.M. Parish and
                                                   School Charitable Trust                 280 North Race Street      Middletown      PA      17057            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   St Teresa of Calcutta School            316 North Street           McSherrystown   PA      17344-1402       N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   St. George Roman Catholic Church        775 Forest Hill Rd         Miffinburg      PA      17844            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   St. Patrick Church                      219 S Beaver St            York            PA      17401            N/A       Unknown        No         X          X         X     Tort and Other          Unknown
                                                   St. Peter Son Korean Catholic
                                                   Community Charitable Trust              571 Valley Road            Enola           PA      17025            N/A       Unknown        No         X          X         X     Tort and Other          Unknown

                                                   Trinity High School                     3601 Simpson Ferry Road    Camp Hill       PA      17011-6475       N/A       Unknown        No         X          X         X     Tort and Other          Unknown




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                                                   York Catholic Junior-Senior High        601 East Springettsbury
                                                   School of Diocese of Harrisburg         Avenue                     York            PA      17403-2896       N/A       Unknown        No         X          X         X     Tort and Other         Unknown
                                                                                                                                                                                                                                                    =======
                                                   TOTAL                                                                                                                                                                                            Unknown




                        Desc
                                                   Roman Catholic Diocese of Harrisburg                                                                                                                                                                                          Exhibit E/F.2.3.3
                                                   Case No.: 1:20‐00599 HWV                                                                                           Schedule E/F


                                                                                                                                           Unsecured Creditors - Affliated Religious Organizations


                                                                                                                                                                    Last 4 of
                                                                                                                                                    Postal/ Zip                  Date          Subject to            Unliquid-
                                                   Name                                   Address                      City               State                     Account                               Contingent           Disputed Basis for Claim                     Amount Due
                                                                                                                                                    Code                         Incurred       Setoff?              ated
                                                                                                                                                                    Number
                                                                                                                                                                                                                                                                                 =======

                                                   Note 1: Amounts listed above are claims related to torts and other potential liabilities that are disputed, contingent or unliquidated. However, those creditors listed may also have claims for contribution or
                                                   indemnification which may arise or result from any currently pending or to be filed litigation and any such claims were, as of the petition date, contingent and unliquidated and the amounts unknown at this time.

                                                   Note 2: The sex abuse claims which are Schedule F claims have been listed and redacted in accordance with the "Debtor’s Emergency Motion For An Order Authorizing The Debtor To File Under Seal Portions Of
                                                   Schedule E/F, The Creditor Matrix, and Other Pleadings And Documents." In the situation where a multiple confidential claimants are represented by one law firm, the number of confidential claimants represented by a




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                                                   law firm is noted and only one entry appears on Schedule F. In all other instances, there is a separate redacted entry for each potential claimant/creditor.




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   Fill in this Information to identify the case and this filing:


   Debtor Name    Roman Catholic Diocese of Harrisburg
                                     _M_id__
   United States Bankruptcy Court for the: dle______ District of PA
                                                                "(S~ta-te~) - -
   Case number (If known):   1:20-bk-00599




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
 An Individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
 this form for the schedules of assets and llabllltles, any other document that requires a declaration that is not Included In the document,
 and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the Identity of the
 document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
 connection with a bankruptcy case can result In fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.



              Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          D     Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)

          D     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

          D     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          D     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          D     Schedule H: Codebtors (Official Form 206H)

          D    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          0    Amended Schedule .AlB;         E/F

          D    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          D    Other document that requires a declaration_ _ _ _ __ _ _ __ __ __ __ _ _ _ __ _ _ __ _ _ _ __




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on     _0_5_/1_2_/2_0_2_0                  X
                         MM/DD/YYYY



                                                                 Christopher G. Linscott
                                                                 Printed name

                                                                 CRO / Financial Advisor
                                                                 Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors



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